
4 U.S. 234 (____)
4 Dall. 234
Levy
versus
The Bank of the United States.
Supreme Court of United States.

*236 Ingersoll, E. Tilghman, M`Kean, and Dallas, for the plaintiff.
Rawle, and Lewis, for the defendants.
The COURT delivered a charge to the jury decidedly in favour of the plaintiff; the Chief Justice declaring, that he thought any attempt to distinguish between a credit in the bank book of a customer, and an actual cash payment, as impolitic on the part of the bank, as it was unjust towards the individual, who accepted the credit, instead of his money.
The verdict found for the plaintiff the sum demanded, and interest: and (after an ineffectual motion for a new trial, as above stated) a judgment was rendered upon the verdict, which was affirmed upon a writ of error.
